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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 09-61448-CIV-COHN/SELTZER

  DONN LILES,

          Plaintiff,


  vs.


  STUART WEITZMAN, LLC,

       Defendant.
  _____________________________/

        ORDER ON MOTION FOR PROTECTIVE ORDER OR, IN THE ALTERNATIVE,
         MOTION TO STRIKE DEFENDANT’S MITIGATION AFFIRMATIVE DEFENSE

          THIS CAUSE is before the Court on Plaintiff’s Motion for Protective Order, or, in the

  Alternative, Motion to Strike Defendant’s Mitigation Affirmative Defense (DE 22) and the

  Court being sufficiently advised, it is hereby ORDERED that the Motion for Protective

  Order is GRANTED and the Motion to Strike Defendant’s Mitigation Affirmative Defense

  is DENIED for the reasons set forth below.

          Plaintiff Donn Liles brings this action under the Age Discrimination in Employment

  Act (“ADEA”) and the Florida Civil Rights Act of 1992 (“FCRA”) against his former

  employer, Stuart Weitzman, LLC.          Plaintiff alleges that Defendant terminated his

  employment as Chief Information Officer (“CIO”) because of his age (60 years) and

  replaced him with a substantially younger information-technology professional (55 years).

  Defendant contends that it discharged Plaintiff, among other reasons, for failing to

  satisfactorily complete the job duties for which he was hired.
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         On January 11, 2010, Plaintiff served supplemental responses to Defendant’s

  Interrogatories, identifying 47 companies that he had contacted for work as a consultant.

  On February 11, 2010, Defendant issued subpoenas duces tecum to the 28 domestic

  corporations listed, seeking production of Plaintiff’s employment records.1 According to

  Plaintiff, before the subpoenas were issued, he had been in regular contact with these

  companies, actively seeking employment. After the subpoenas were issued, four of the

  companies contacted him to inquire “what was going on.” Liles Unsworn Declaration ¶ 7

  (DE 22-3).     Plaintiff states that the remaining 24 companies “are no longer in

  communication with [him]. Id. He opines that “[b]ecause of the services [sic] of these

  subpoenas, [his] efforts seeking work have been severely damaged, and [he] is unable to

  get work.” Id. at ¶ 9.

         According to Plaintiff, at his March 25, 2010 deposition he mentioned two

  companies that he had not yet contacted to seek employment – Kikomo Ltd. and World

  Wide Dreams. Thereafter, Defendant notified Plaintiff that it intended to serve subpoenas

  duces tecum on these two companies. The subpoenas seek essentially all of Plaintiff’s




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            Plaintiff did not object to these subpoenas. He, however, explains that although
  Defendant’s notice of intent to serve the 28 subpoenas was allegedly served on February
  11, 2010, Plaintiff’s counsel did not received the notice in the mail until February 16, 2010,
  and she did not see it until the next day. Because several of the companies responded
  to the subpoenas as early as February 19, 2010, Plaintiff believes that Defendant must
  have served the subpoenas at the same time it sent him the notice of intent to serve.
  According to Plaintiff, he therefore did not have sufficient time to object. Additionally,
  Plaintiff argues that his non-objection to previous subpoenas does not bar him from
  objecting to the subject subpoenas.

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  employment records.2

         Plaintiff now moves the Court to enter a protective order prohibiting Defendant from

  serving the subpoenas on the ground that they are “cumulative, harassing, and

  defendant’s continued fishing expedition will cause more harm than the potential benefit.”

  Motion at 3 (DE 22). Additionally, Plaintiff argues that if Defendant is permitted to serve

  the subject subpoenas on Kikomo Ltd. and World Wide Dreams (the companies that he

  has not yet contacted) he fears they too will refuse to communicate with him.3


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             More specifically, the subpoenas duces tecum seek production of the following
  records:
                 1.     Any and all applications for employment.
                 2.     Any and all personnel/employment records.
                 3.     Any and all references provided.
                 4.     Any and all time, attendance, wage and salary records,
                        payroll records, W-2 forms and tax withholding records.
                 5.     Any and all evaluations or employment performance,
                        names of supervisors and/or managers, job
                        descriptions, job training information, manuals,
                        documentation relating to employee discipline,
                        statements of employer/employee policies, resignation,
                        discharge or termination documents, employment
                        contracts, complaints against the employee,
                        commendations, awards or statement of praise
                        regarding the employee.
                 6.     Any and all documents concerning claims for workers’
                        compensation, medical records, unemployment
                        compensation records and claims, insurance claims.

  Subpoenas (DE 22-2).
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            Plaintiff also argues that the subject subpoenas are untimely because Defendant
  intended to serve them on April 9, 2010, the last day of the discovery period (which the
  District Court has previously declined to extend.). See March 31, 2010 e-mail from
  Defendant’s counsel to Plaintiff’s counsel (DE 32-1) (“We intend to issue the foregoing
  [subpoenas] on April 9, 2010, in the absence of a protective order or other court mandate
  restricting same.”). Local Rule 26.1.F.2 provides that “[w]ritten discovery requests and
  subpoenas seeking the production of documents must be served in sufficient time that

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         Plaintiff’s argument that Kikomo Ltd. and World Wide Dreams would not hire him

  were Defendant permitted to serve the subject subpoenas is premised on the assumption

  that the other companies from which he has sought employment did not hire him because

  they received subpoenas. Although Plaintiff opines in his Unsworn Declaration that he is

  unable to find employment because of the subpoenas served on prospective employers,

  he has failed to proffer any evidence demonstrating that any company has failed to hire

  him as a result of the receipt of a subpoena. Indeed, Plaintiff acknowledged at his

  deposition that he had no evidence that he ever lost a business opportunity because of

  service of the subpoenas. March 25, 2010 Deposition Transcript at 16-19 (DE 31-2). The

  Court, therefore, cannot grant Plaintiff’s Motion because of any alleged harm. But the

  Court does finds that a protective order is warranted for another reason. According to

  Defendant, subpoenas directed to potential employers are relevant to its mitigation

  affirmative defense. Although a few of the documents sought may be relevant or likely to

  lead to admissible evidence, the subpoenas as drafted are extremely overbroad for this

  purpose. Moreover, only documents after Plaintiff’s termination would be relevant to a

  mitigation defense, yet these subpoenas are not limited in time.

         This, however, does not end the Court’s inquiry. In response to Plaintiff’s Motion


  the response is due on or before the discovery cutoff date.” (emphasis added). It is
  unlikely that Defendant could have served the subpoenas on the last day of the discovery
  period and obtained production of the documents on the same day. It, therefore, appears
  that the subpoenas are untimely. However, because Plaintiff raised the timeliness issue
  for the first time in his Reply Memorandum, Defendant has not had an opportunity to
  respond. The Court, therefore, will not grant Plaintiff’s Motion for Protective Order on this
  ground. The Court notes that upon Plaintiff’s filing of the instant Motion on April 5, 2010,
  it entered an Order (DE 28) prohibiting Defendant from serving the subpoenas until further
  Order of the Court.

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  for Protective Order, Defendant states that at Plaintiff’s deposition, he identified Kikomo

  Ltd. and World Wide Dreams not as prospective employers (as Plaintiff suggests), but as

  other companies for whom he had performed information technology services similar to

  those that he had performed for Defendant. According to Defendant, it intends to serve

  the subject subpoenas on these companies as former employers. Defendant argues that

  because Plaintiff previously worked for these companies, “information relative to his

  performance implementing similar Information Technology (IT) systems [is] discoverable

  and ‘relevant to the claim of defense’ of Defendant.” Response at 3 (DE 31). As concerns

  the relevance of the records sought, Defendant states that it “may choose to address

  certain areas of Liles’ demonstrative incompetence relative to his performance at

  Defendant” or “if documents obtained from these entities indicate that Plaintiff had similar

  issues with software implementation projects, Defendant may aver that Plaintiff

  misrepresented his qualifications for employment, which was to implement these IT

  programs.”    Id.   Although not artfully stated, it appears that Defendant’s relevancy

  argument is two-fold: (1) the records sought may reflect Plaintiff’s poor performance in

  providing IT services for former employers, which would be relevant to Defendant’s

  defense that it discharged Plaintiff for not being able to perform his job functions; and (2)

  the records sought may reflect that Plaintiff misrepresented his qualifications to Defendant,

  which would be relevant to an after-acquired evidence defense.

         Federal Rule of Civil Procedure 26(b)(1) provides that parties may obtain through

  discovery “any nonprivileged matter that is relevant to any party’s claim or defense” and

  “for good cause, the court may order discovery of any matter relevant to the subject matter


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  involved in the action.” Fed. R. Civ. P. 26(b)(1). Further, “[r]elevant information need not

  be admissible as long as “the discovery appears reasonably calculated to lead to the

  discovery of admissible evidence.” Id. Additionally, where good cause exists, a court may

  enter a protective order to “protect a party or person from annoyance, embarrassment,

  oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1). Such protective order

  may, inter alia, forbid the discovery, limit the scope of discovery, and/or require the

  discovery to be taken in a different manner than that chosen by the party seeking

  discovery. See Fed. R. Civ. P. 26(c)(1)(A-H). The scope of discovery under a Rule 45

  subpoena to non-parties is the same as that permitted under Rule 26. Ireh v. Nassau

  Univ. Med. Ctr., No. CV-06-09 (LDW)(AKT), 2008 WL 4283344, at *5 (E.D.N.Y. Sept. 17,

  2008) (“Any subpoena that is issued to non-parties pursuant to Rule 45 is subject to Rule

  26(b)(1)’s overriding relevance requirement.”) (internal quotation marks omitted); Stewart

  v. Mitchell Transport, No. 01-2546-JWL, 2002 WL 1558210, at 3 (D. Kan. July 8, 2002) (“It

  is well settled . . . that the scope of discovery under a Rule 45 subpoena is the same as

  that permitted under Rules 26(b) and 34").

         Defendant first contends that it “may choose to address certain areas of Liles’

  demonstrative incompetence relative to his performance at Defendant.” Response at 3

  (DE 31). Defendant, however, has cited no authority to support his argument that a

  plaintiff’s employment records from his former employer are relevant (or are likely to lead

  to admissible evidence) to demonstrate poor performance while employed by the

  defendant. Moreover, courts considering the issue have held to the contrary. See, e.g.,

  Sanders v. Dalcraft LLC, No. 3-09-CV-0307-P, 2009 WL 1392602, at *2 (N.D. Tex. May


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  18, 2009) (rejecting argument that employment records from plaintiff’s former employer

  “may show performance deficiencies similar to those relied upon by [the defendant] to

  justify termination”); Ireh, 2008 WL 4283344, at *5 (ruling that plaintiff’s performance

  during prior employment not relevant to work performed for defendant and that prior

  employment records not likely to lead to discovery of admissible evidence as such

  evidence would be inadmissible under Federal Rule of Evidence 404(a)); Maxwell v.

  Health Center of Lake City, Inc., No. 3:05-CV-1056-J-32MCR, 2006 WL 1627020, at *4

  (M.D. Fla. June 6, 2006) (ruling that plaintiff’s performance at previous jobs not relevant

  nor reasonably calculated to lead to admissible evidence because Rule 404(a) would

  exclude such evidence).

         The decision in Chamberlain v. Farmington Savings Bank, No. 3-06CV-01347

  (CFD), 2007 WL 2786421, at *3 (D. Conn. Sept. 25, 2007) is instructive. In Chamberlain,

  an age and disability discrimination case, the defendant served subpoenas duces tecum

  on the plaintiff’s former employers seeking the production of the plaintiff’s prior

  employment records. In response to the plaintiff’s motion to quash the subpoenas and for

  protective order, the defendant argued that the plaintiff’s performance history was relevant

  to its defense that it terminated the plaintiff’s employment because of poor performance.

  In rejecting that argument, the court stated:

                The defendant’s argument is unavailing. The court finds that
                evidence of the plaintiff’s performance history is neither
                relevant nor admissible for the purpose of showing that the
                plaintiff performed poorly in his position with defendant. First,
                the plaintiff’s performance history is not relevant to the issues
                involved in the current case; rather, at issue is the plaintiff’s
                performance in his position with the defendant. Second, the


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                defendant’s request for production of documents relating to the
                plaintiff’s performance history is not reasonably calculated to
                lead to the discovery of admissible evidence. The defendant
                seeks to discover evidence of the plaintiff’s performance
                history in order to show that he had a propensity for certain
                performance deficiencies. Such evidence is inadmissible
                under Federal Rule of Civil Procedure 404(a), which provides
                that “[e]vidence of a person’s character or a trait of character
                is not admissible for the purpose of proving action in
                conformity therewith. . . .” Fed. R. Evid. 404(a).

  Id.

         This Court agrees with the reasoning of Chamberlain. Accordingly, the Court

  concludes that Plaintiff’s performance history does not provide a sufficient basis for the

  discovery of his prior employment records.

         Defendant next argues that “if documents obtained from [Plaintiff’s former

  employers] indicate that Plaintiff had similar issues with software implementation projects,

  Defendant may aver that Plaintiff misrepresented his qualifications for employment, which

  was to implement these IT programs.” If by this statement Defendant is arguing that

  discovery of Plaintiff’s prior employment records may assist it in establishing an after-

  acquired evidence4 defense, this argument is also unavailing.

         In McKennon v. Nashville Banner Publishing Co., 513 U.S. 352 (1995), the

  Supreme Court recognized the after-acquired evidence defense under which an

  employee’s relief may be limited by evidence of wrongdoing discovered after the




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           “After-acquired evidence refers to facts discovered by an employer after the
  employer has already fired an employee, which could justify-post-hoc the decision to
  terminate the employee.” Naylor v. Rotech Healthcare, Inc., No. 1:108-CV-95, 2009 WL
  5206005, at *1 (D. Vt. Dec. 23, 2009).

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  employee’s termination;5 the plaintiff’s wrongful conduct must have been of “such severity

  that the employee in fact would have been terminated on those grounds alone if the

  employer had known of it at the time of the discharge.” Id. at 362-63. The McKennon Court

  cautioned against potential abuse of the discovery process by employers seeking to limit

  their liability through an after-acquired evidence defense. The Court, however, noted that

  the lower courts could curb such abuses, stating: “The concern that employers might as

  a routine matter undertake extensive discovery into an employee’s background or

  performance on the job to resist claims under the [Age Discrimination in Employment Act]

  is not an insubstantial one,” but one that can be deterred by ‘invok[ing] the appropriate

  provisions of the Federal Rules of Civil Procedure.” Id. at 363.6

         The Eleventh Circuit has not addressed the scope of discovery permissible to

  establish an after-acquired evidence defense. At least three district courts in the Eleventh

  Circuit, however, have considered the issue. In Premer v. Corestaff Services, L.P., 232

  F.R.D. 692 (M.D. Fla. 2005), the court stated that although “the after-acquired evidence


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           The McKennon Court ruled that after-acquired evidence should not be used to
  determine liability because “[t]he employer could not have been motivated by the
  knowledge it did not have. . . .” 513 U.S. at 360. Rather, after-acquired evidence may only
  be used in fashioning the plaintiff’s remedy: “neither reinstatement nor front pay is an
  appropriate remedy” and back pay should be calculated only “from the date of the unlawful
  discharge to the date the new information was discovered.” Id. at 361-62.
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           McKennon involved an employee who was found, after the commencement of her
  discrimination action under the Age Discrimination in Employment Act, to have violated the
  defendant employer’s policies while working for the defendant (i.e., surreptitiously copying
  and retaining confidential documents). The Eleventh Circuit, however, has held that the
  after-acquired evidence doctrine is also applicable to Title VII and Equal Pay Act cases
  and extends also to an employee’s fraud in the application process, not only to an
  employee’s wrongful conduct during employment. Wallace v. Dunn Constr. Co., Inc., 62
  F.3d 374 (11th Cir. 1995) (en banc).

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  doctrine provides employers a mechanism to limit an employee’s remedies based on

  evidence found during discovery, it should not be used as an independent basis to initiate

  discovery.” Id. at 693. The court noted that “district courts have limited employers’ fishing-

  expedition style discovery” based on McKennon’s concern about employers undertaking

  extensive discovery into an employee’s performance and background to limit liability. Id.

  at 693 (citing Perry v. Best Lock Corp., No. IP 98-C-0936-H/G, 1999 WL 33494858, at *2

  (S.D. Ind. Jan. 21, 1999) (“The McKennon] Court’s comment about potential abuse clearly

  implies that discovery is not warranted for the sole purpose of developing a possible after-

  acquired evidence defense.”)). And in Maxwell v. Health Center of Lake City, Inc., 2006

  WL 1627020, at *5, the court likewise ruled that the after-acquired evidence doctrine

  “should not be used to independently initiate discovery.” Id. Rather, a defendant “must

  have some pre-existing basis to believe that after-acquired evidence exists before it can

  take additional discovery.” Id. More recently, in EEOC v. Jack Marshall Foods, Inc., No.

  09-0160-WS-M, 2010 WL 55635, at *2 (N.D. Ala. Jan. 4, 2010), on appeal, the district

  court upheld a magistrate judge’s order quashing subpoenas duces tecum seeking to

  obtain employment records from the intervening plaintiffs’ former employers.             The

  defendant argued that the records might contain after-acquired evidence, which could limit

  the plaintiff’s damages.    The magistrate judge ruled that a defendant cannot seek

  discovery to assist in establishing an after-acquired evidence defense “in the absence of

  some basis for believing that after-acquired evidence of wrongdoing will be revealed.” Id.;

  see also Sanders, 2009 WL 1392602, at *2 (“Courts generally agree that the after-

  acquired evidence defense ‘cannot be used to pursue discovery in the absence of some


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  basis for believing that after-acquired evidence of wrong-doing will be revealed.’”) (quoting

  Chamberlain, 2007 WL 2786421, at *2).

         Defendant here has not proffered any evidence suggesting that Plaintiff may have

  engaged in any wrongful conduct that would provide legitimate grounds for Plaintiff’s

  discharge. Accordingly, the Court will not permit discovery of Plaintiff’s prior employment

  records for the purpose of seeking to find some evidence of wrongful conduct by Plaintiff.

  Defendant’s efforts to obtain the employment records from Plaintiff’s former employers on

  the off-chance that it may find some evidence of wrongdoing is merely a fishing expedition.

  “District courts need not condone the use of discovery to engage in ‘fishing expedition[s].”

  Rivera v. Nibco, Inc., 364 F.3d 1057, 1072 (9th Cir. 2004) (finding magistrate judge’s entry

  of protective order precluding defendant employer from using discovery process to support

  after-acquired evidence defense proper, noting that “the McKennon Court did not hold that

  depositions could be conducted for the purpose of uncovering illegal actions.”).

         In sum, if the subject subpoenas duces tecum are intended to seek information from

  prospective employers to support Defendant’s mitigation affirmative defense, they are

  extremely overbroad. And if the subpoenas are intended to seek information showing

  Plaintiff performed poorly at his former employment to support Defendant’s defense of

  unsatisfactory performance, the records sought are not relevant nor are they likely to lead

  to admissible evidence. Additionally, because Defendant has failed to demonstrate that

  it has any basis for believing wrongful conduct by Plaintiff may be revealed by the records

  sought, it is not entitled to discovery to assist in establishing an after-acquired evidence

  defense. Accordingly, Plaintiff’s Motion for Protective Order is GRANTED.


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         Plaintiff has additionally moved to strike Defendant’s mitigation affirmative defense.7

  He contends that “it appears defendant’s strategy [in serving subpoenas on potential

  employers] is to prevent plaintiff from getting work consulting with companies in the United

  States.”8 Motion at 8 (DE 22). He argues that “[i]f defendant wishes to pursue its quest

  to subpoena these two companies on plaintiff’s network list, its mitigation of damages

  affirmative defense should be stricken.” Id. Defendant responds that “while the injured

  victim has a duty to mitigate damages by being reasonably diligent in seeking substantially

  equivalent employment the burden of proving lack of diligence is on the employer.”

  Response at 5 (DE 31) (quoting U.S. E.E.O.C. v. Massey Yardley Chrysler Plymouth, Inc.,

  117 F.3d 1244, 1251-52 (11th Cir. 1997)).          Defendant argues that in issuing the

  subpoenas it was properly investigating the adequacy of Plaintiff’s mitigation efforts. The

  Court agrees that Defendant has not engaged in any improper conduct that would justify

  imposing the harsh remedy of striking an affirmative defense. Accordingly, Plaintiff’s

  Motion to Strike Defendant’s Mitigation Affirmative Defense is DENIED.

         DONE AND ORDERED in Fort Lauderdale, Florida, this the 6th day of May 2010.




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            Defendant’s fifth affirmative defense states: “The Plaintiff has failed to mitigate
  his alleged losses, injuries or damages, and, therefore, Defendant is not responsible to the
  extent that Plaintiff could have mitigated his damages and Plaintiff has barred or diminshed
  his entitlement to damages, if any.” Affirmative Defenses ¶ 5 (DE 4).
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            Plaintiff has not explained why Defendant would want to prevent him from
  mitigating his damages.

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  Copies to:

  All counsel of record




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